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 United States Bankruptcy Court for the:

                           District of    Delaware
                                         (state)
 Case number cif know~~:                                       Chapter 11                                                                   ❑Check if this is an
                                                                                                                                                amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                               04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



~. debtors name                                FGI Operating Company LLC


2: All other names debtor used                 FGI Operating Company, Inc.
   in the last 8 years
   Include any assumed names,
   trade names, and doing business
   as names




s. Debtor's federal Employer                  2 7- 1             6 7 9 7 7 4
   Identification Number(EIN)



                                              Principal place of business                                   Mailing address, if different from principal place
a. Debtor's address
                                                                                                            of business

                                               870 Remington Drive                                           870 Remington Drive
                                              Number         Street                                         Number      Street

                                                                                                             P.O. BOX TOO
                                                                                                            P.o. aoX
                                                   Madison                      NC       27025                Madsion                   NC         27025
                                              City                              State     ZIP Code          City                        State      ZIP Code

                                                                                                            Location of principal assets, if different from
                                                                                                            principal place of business
                                                   Rockingham County
                                              county
                                                                                                            Number      Street




                                                                                                             City                       State          ZIP Code




s. Debtor's website (URL)                          None

                                                     Corporation (including Limited Liability Company(LLC) and Limited Liability Partnership (I.LP))
s. Type of debtor
                                               ❑ Partnership (excluding LLP)
                                               ❑ Other. Specify:



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Debtor        FGI Operating Company, LLC                                                        Case number
             Name


                                      A. Check one:
~. Describe debtor's business
                                      ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                      ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51 B))
                                      ❑ Railroad (as defined in 11 U.S.C.§ 101(44))
                                      ❑ Stockbroker(as defined in 11 U.S.C. § 101(53A))
                                      ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                      ❑ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         None of the above


                                      B. Check all that apply:

                                      ❑ Tax-exempt entity (as described in 26 U.S.C. § 501)
                                      ❑ investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                        § &Oa3)
                                      ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                      C. NAICS (North American Industry Classification System)4-digit code that best describes debtor. See
                                         http:!/www.naics.com/search/ .
                                          3    3 2 9

a. Under which chapter of the         Check one:
   Bankruptcy Gode is the
   debtor filing?                     ❑Chapter 7
                                      ❑ Chapter 9
                                         Chapter 11. Check all that apply:
                                                           ❑ Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,566,050(amount subject to adjustment on
                                                             4/01/19 and every 3 years after that).
                                                           ❑ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51 D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(8).
                                                           I~ A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (O~cial Form 201 A) with this form.

                                                           ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                      ❑ Chapter 12

s. Were prior bankruptcy cases        ~ No
   filed by or against the debtor                                                                                  Case number                       _
                                      ❑Yes. District                                     When
    Within th0 last 8 years?
                                                                                                MM / DD / YYYY
    If more than 2 cases, attach a                                                       When                      Case number                       _
                                                District
    Separate list.                                                                              MM / DD I YYYY

~o. Are any bankruptcy cases          ❑ No
    pending or being filed by a
    business partner or an                Yes. Debtor        See attached list                                   _ Reiac~o~sn~p
    affiliate of the debtor?                    District                                                           When
                                                                                                                                  MM I DD I YYYY
    List all cases. If more than 1,
    attach a separate list.                     Case number, if known

  Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 2
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  Debtor       FGI Operating Company, LLC                                                  Case number ~rfk~ow~>
               Name




  ~~. Why is the case filed in this   Check all that apply:
      district?
                                      ~I Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.

                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


  ~2. Does the debtor own or have     f,~ No
      possession of any real          ❑Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                     Why does the property need immediate attention? (Check ail that apply.)
      attention?
                                               ❑ it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                   What is the hazard?

                                                   It needs to be physically secured or protected from the weather.

                                               ❑ it includes perishable goods or assets that could quickly deteriorate or lose value without
                                                 attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                 assets or other options).

                                               ❑ Other



                                               Where is the property?
                                                                          Number          Street



                                                                                                                          State       ZIP Code


                                               Is the property insured?
                                               ❑ No
                                               ❑ Yes. Insurance agency .

                                                         Contact name

                                                         Phone



 Statistical and administrative information
-


   ~s. Debtor's estimation of         Check one:
       available funds                  Funds will be available for distribution to unsecured creditors.
                                      ❑ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                        1-49                            ❑ 1,000-5,000                              ❑ 25,001-50,000
   ~a. Estimated number of            ❑ 50-99                           ❑ 5,001-10,000                             ❑ 50,001-100,000
       creditors                                                        ❑ 10,001-25,000                            ❑ More than 100,000
                                      ❑ 100-199
                                      ❑ 200-999

                                      ❑   $0-$50,000                    ❑   $1,000,001-$10 million                   $500,000,001-$1 billion
   as. Estimated assets               ❑   $50,001-$100,000              ❑   $10,000,001-$50 million                ❑ $1,000,000,001-$10 billion
                                      ❑   $100,001-$500,000             ❑   $50,000,001-$100 million               ❑ $10,000,000,001-$50 billion
                                      ❑   $500,001-$1 million           ❑   $100,000,001-$500 million              ❑ More than $50 billion




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Qab~o~       .~I Q~e~~~ing...~ompan~, LLB                                                          Gase numb3r t~~K~o.,i~>
              Name


                                         U 50-~SO,OCO                             ❑ 51,000,001-$10 million                   ~ 5500,000,001-$t biUfon
16. Estimated liabilities                [;] gp,001-5100,000                      ❑ S1Q,000,001-S5D mitl~on                  ~ S1,000,OOOAOi-$10 billion
                                          G 5140.001-X500,000                     ❑ 350,fl00,001-~i00miifian                 0 ~10,0~0,000,~01-$506illion
                                          ❑ $'i00,001-$1 million                  ❑ 5100,000.OQ1-~50Q million                ❑ Niore than X50 billion



           R~qu~st far Relief, Declaration, and Signatures


WARNING •- Bankru}~tcy fraud is a serious crime. titaking a false statement in connection with a bankruptcy case can result in fines up to
           X500;000 or imprisonment for up ko ZO years, or both. 18 U.S.C. §~ 152, 1341, 1519, and 3571.


~~. Declaration and signature of         ,;t    The debtor requests relief in accordance with the chapter of tine 11, United States Code, specified in this
    authorized representative of
                                                petition.
    debtor

                                         ~r     I have been authorized to file this petition on behalf of the debtor.

                                         n      I have examinod the information in this petition and have a reasonable belief that the information is true and
                                               correct.


                                         i declare under penalty of perjury that the foregoing is true and correct,

                                               Executed on ~~..~~
                                                                ~~~
                                                      4.~ MM / DD / YYYY

                                         ~ ~.~_~'~~~                                                         S~t~hen P. Jackson Jr.
                                               Signature of authorized representative   cieb r              Printod name

                                               rtie Chief financial officer




ia, Signature of attorney                                                                  —6~r             Date        '~~~J
                                                 innatur~; n    omen for debtor                                          MMM~ / DD


                                                Laura Davis Jones, Esa.
                                               Prinfed name
                                               Pachulski Stanq Ziehi &Jones LLP
                                               Finn name                                                                                     ~-.~~~~Y~~
                                                919 ~torth Market Streef;,,_1.7th_„Floor
                                               Number          Street
                                               Wilmington                                                       ._._._DE         19801
                                               Cily                                                             State           Z(P Code

                                                 3~ 02L652-41 ~0                                                 liones pszjlaw.cam            ,__          _
                                               Contact phone                                                    Email address


                                               736                            __~.                                      ~E __
                                               Bar number                                                       State




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                                            Schedule 1


                Pending Bankruptcy Cases Filed b3' the Debtors iii this Court

       On the date hereof, each of the affiliated entities listed below (collectively, the
"Debtors")filed a voluntary petition for relief under chapter 11 of title 11 of the United States
Code, 11 U.S.C. §§ 101 et seq., in the United States Bankruptcy Court for the District of
Delaware. Contemporaneously herewith, the Debtors are filing a motion requesting the joint
administration of these chapter 11 cases for procedural purposes only under the case number
assigned to Remington Outdoor Company,Inc.

        1.     Remington Outdoor Company, Inc.

        2.     FGI Holding Company,LLC

        3.     FGI Operating Company,LLC

        4.      Remington Arms Company,LLC

        5.      Barnes Bullets, LLC

        6.      TMRI,Inc.

        7.      32E Productions, LLC

        8.      Great Outdoors Holdco, LLC

        9.      RA Brands, L.L.C.

        10.     Outdoor Services, LLC

        11.     FGI Finance, Inc.

        12.     Huntsville Holdings LLC
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                                   RESOLUTIONS
                           OF THE MANAGEMENT BOARD OF

                             FGI OPERATING COMPANY,LLC

                                         March 20,2018

       The members of the management board (collectively, the "Directors") of FGI
OPERATING COMPANY, LLC, a limited liability company organized and existing under the
laws of the State of Delaware (the "Company"), hereby take the following actions and consent to
the adoption of the following preambles and resolutions (these "Resolutions").

       WHEREAS,the Directors of the Company have considered the financial and operational
condition of the Company;

       WHEREAS,such Directors have reviewed the historical performance and results of the
Company, the market in which the Company operates, its current and future liquidity needs, its
business prospects, and its current and long-term liabilities;

        WHEREAS,such Directors have reviewed the materials presented by its financial, legal,
and other advisors and have engaged in numerous and extensive discussions (including, without
limitation, with its management and such advisors) regarding, and have had the opportunity to
fully consider, the Company's financial condition, including its liabilities and liquidity position,
the strategic alternatives available to it, and the impact of the foregoing on the Company's
business and operations;

        WHEREAS, Directors previously approved the form, terms and provisions of, and the
execution, delivery, and performance of, and, on February 11, 2018, the Company entered into,
that certain restructuring support agreement (as amended, restated supplemented or otherwise
modified from time to time in accordance with the terms thereof, the "RSA"), by and among (i)
the Company, (ii) Remington Outdoor Company, Inc., (iii) the consenting term lenders under
that certain Term. Loan Agreement, dated as of April 19, 2012, by and among the Company, as
Borrower, FGI Holding Company LLC, as Holdings, the guarantors and lenders from time to
time party thereto, and Bank of America, N.A., as Agent, and (iv) the consenting holders of those
certain 7.875% Senior Secured Notes due 2020 pursuant to that Indenture, dated as of April 19,
2012, between the Company and FGI Finance Inc., as Issuers, the guarantors named therein, and
Wilmington Trust, National Association, as Trustee and Collateral Agent;

        WHEREAS, such Directors have determined that, in furtherance of the RSA, it is
desirable and in the best interests of the Company and its respective creditors, equity holders,
employees and other parties-in-interest that the Company commence solicitation ("Solicitation")
of votes to obtain acceptances of the Joint Prepackaged Chapter 11 Plan of Remington Outdoor
Company, Inc. and its Affiliated Debtors and Debtors in Possession, dated March 22, 2018 (the
"Prepackaged Plan"); and

        VVH~REAS, such Directors have determined that, in furtherance of the Prepackaged
Plan, it is desirable and in the best interests of the Company and its respective creditors, equity
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holders, employees, and other parties-in-interest that the Company file or cause to be filed a
voluntary petition (a "Voluntar~Petition") for relief under the provisions of chapter 11 of title 11
of the United States Code (the "Bankruptc~Code").

                                            ~nlicitatinn

        ~E IT 1~ESOL~ED that the Directors have determined that it is advisable and in the
best interests ofthe Company that the Company commence Solicitation;

       BE IT FURTHER RESOLVED that the senior officers of the Company (together, the
"Authorized Officers"), be, and each of them hereby is, authorized, empowered and directed to
take any and all action and perform any and all further deeds that they deem necessary or proper
to commence Solicitation;

                                         Chapter 11 Case

        BE IT FURTHER RESOLVED that Directors have determined that it is advisable and
in the best interests of the Company that the Company file, or cause to be filed, a Voluntary
Petition commencing the Chapter 11 Case (as defined below);

       BE IT FURTHER RESOLVED that the Authorized Officers, be, and each of them
hereby is, authorized, empowered, and directed to execute and file, or cause to be filed, with the
bankruptcy court, for the Company, all petitions, schedules, lists, motions, applications,
pleadings, and any other necessary papers or documents, including any amendments thereto, and
to take any and all action and perform any and all further deeds that they deem necessary or
proper to obtain chapter 11 bankruptcy relief or in connection with the chapter 11 case of the
Company (the "Chapter 11 Case"), with a view to the successful prosecution of such Chapter 11
Case;

                                 Debtor in Possession Financing

        BE IT FURTHER RESOLVED that, the Authorized Officers, and any employees or
agents (including counsel) designated by or directed by any such officers, be, and each of them
hereby is, authorized, empowered, and directed, in the name and on behalf of the Company,to, if
the Authorized Officers determine it to be necessary or appropriate, enter into senior, secured,
super-priority debtor in possession credit facilities, including the credit facilities contemplated by
(a)the "Term Sheet" attached as Exhibit A to that certain Commitment Letter, dated as of March
8, 2018, by and among the Company and the lenders party thereto, and (b) that certain "$193
million DIP and Exit ABL Revolver Summary of Indicative Principal Terms and Conditions",
dated on or about the date hereof, by and among the Company and the lenders party thereto, in
each case, in substantially the form as presented to the Directors (the "DIP Credit Facilities") and
any related documents or instruments, each on terms and conditions agreed to by the Company,
the lender and the agent and such other terms as are customary for similar debtor-in-possession
facilities and to cause the Company to grant a senior security interest in substantially all of its
assets in connection therewith, and to undertake any and all related transactions contemplated
thereby;



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        BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed, in the name and on behalf of the Company, to, if
the Authorized Officers determine it to be necessary or appropriate, cause to be prepared, to
negotiate, execute, and deliver, and the Company is hereby authorized to perform its obligations
and take the actions contemplated under, the DIP Credit Facilities and such other documents,
agreements, guaranties, instruments, financing statements, notices, undertakings, certificates, and
other writings as may be required by, contemplated by, or in furtherance of the DIP Credit
Facilities, each containing such provisions, terms, conditions, covenants, warranties, and
representations as may be deemed necessary or appropriate by the Authorized Officers, and any
amendments, restatements, amendments and restatements, supplements, or other modifications
thereto, in each case with such changes therein and additions thereto (substantial or otherwise) as
shall be deemed necessary, appropriate, or advisable by any Authorized Officer executing the
same in the name and on behalf of the Company, such approval to be evidenced conclusively by
such execution;

        BE IT FURTHER RESOLVED that the Company, as debtor and debtor in possession
under the Bankruptcy Code, be authorized, empowered, and directed to negotiate and obtain the
use of cash collateral or other similar arrangements, including, without limitation, to enter into
any guarantees and to pledge and grant liens on and claims against the Company's assets as may
be contemplated by or required under the terms of cash collateral agreements or other similar
arrangements, in such amounts as is reasonably necessary for the continuing conduct of the
affairs of the Company in the Chapter 11 Case and any of the Company's affiliates who may
also, concurrently with the Company's petition, file for relief under the Bankruptcy Code;

        BE IT FURTHER RESOLVED that the Company will receive substantial direct and
indirect benefits from the loans and other financial accommodations to be made under the DIP
Credit Facilities to the Company and its affiliates;

                                     Retention of Advisors

        SE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to employ the law firm of Milbank, Tweed,
Hadley & McCloy LLP as general bankruptcy counsel to represent and advise the Company in
carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance its
rights and obligations, including filing any pleadings in connection with the Chapter 11 Case and
with any post-petition financing; and in connection therewith, the Authorized Officers are hereby
authorized, empowered, and directed to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon filing of the Chapter 11 Case, and cause to
be executed and filed an appropriate application with the bankruptcy court for authority to retain
the services of Milbank, Tweed, Hadley & McCloy LLP;

       BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to employ the firm of Pachulski, Stang, Ziehl &
Jones LLP as local counsel to represent and advise the Company in carrying out its duties under
the Bankruptcy Code, and to take any and all actions to advance its rights and obligations in
connection with the Chapter 11 Case and with any post-petition financing; and in connection
therewith, the Authorized Officers are hereby authorized, empowered, and directed to execute

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appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of the Chapter 11 Case, and cause to be executed and filed an appropriate application with
the bankruptcy court for authority to retain the services of Pachulski, Stang, Ziehl &Jones LLP;

        BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to employ the firm of Lazard Freres & Co. LLC
as investment banker to represent and assist the Company in carrying out its duties under the
Bankruptcy Code, and to take any and all actions to advance its rights and obligations in
connection with the Chapter 11 Case and with any post-petition financing; and in connection
therewith, the Authorized Officers are hereby authorized, empowered, and directed to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of the Chapter 11 Case, and cause to be executed and filed an appropriate application with
the bankruptcy court for authority to retain-the services of Lazard Freres & Co. LLC;

        BE IT FURTHER RE~S(JLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to employ the firm of Alvarez & Marsal North
America, LLC as financial advisor to represent and assist the Company in carrying out its duties
under the Bankruptcy Code, and to take any and all actions to advance its rights and obligations
in connection with the Chapter 11 Case and with any post-petition financing; and in connection
therewith, the Authorized Officers are hereby authorized, empowered, and directed to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the
filing of the Chapter 11 Case, and cause to be executed and filed an appropriate application with
the bankruptcy court for authority to retain the services of Alvarez & Marsal North America,
LLC;

        BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to employ the firm of Prime Clerk LLC as
notice, claims, and balloting agent to assist the Company in carrying out its duties under the
Bankruptcy Code; and in connection therewith, the Authorized Officers are hereby authorized,
empowered, and directed to execute appropriate retention agreements, pay appropriate retainers
prior to and immediately upon the filing of the Chapter 11 Case, and cause to be executed and
filed an appropriate application with the bankruptcy court for authority to retain the services of
Prime Clerk LLC;

        BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed to employ any other professionals, including
attorneys, accountants, and tax advisors, necessary to assist the Company in carrying out its
duties under the Bankruptcy Code; and in connection therewith, the Authorized Officers are
hereby authorized, empowered, and directed to execute appropriate retention agreements, pay
appropriate retainers prior to or immediately upon the filing of the Chapter 11 Case, and cause to
be executed and filed appropriate applications with the bankruptcy court for authority to retain
the services of any other professionals, as necessary;

                             Other Authorization and Ratification

       BE IT FURTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed, in the name and on behalf of the Company, to
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prosecute the Chapter 11 Case in a manner that in their business judgment is likely to maximize
the recovery for stakeholders in the Company and minimize the obligations incurred by the
Company;

        BE IT FUTtTHER RESOLVED that the Authorized Officers be, and each of them
hereby is, authorized, empowered, and directed, in the name and on behalf of the Company, to
cause the Company to enter into, execute, deliver, certify, file, and/or record and perform such
agreements, instruments, motions, affidavits, applications for approvals or ruling of
governmental or regulatory authorities, certificates or other documents, and to take such other
action, as in the judgment of such officer shall be or become necessary, proper, and desirable to
prosecute to a successful completion the Chapter 11 Case, including, but not limited to,
implementing the foregoing Resolutions and the transactions contemplated by these Resolutions;

        ~.3E IT' FL~T~3'~'l~Ei2 ~S~?LVEI) that Authorized Officers be, and each of them hereby
is, authorized, empowered, and directed, in the name and on behalf of the Company, to amend,
supplement, or otherwise modify from time to time the terms of any documents, certificates,
instruments, agreements, or other writings referred to in the foregoing Resolutions; and

        BE IT FURTHER RESOLVED that all acts, actions, and transactions relating to the
matters contemplated by the foregoing Resolutions done in the name and on behalf of the
Company, which acts would have been approved by the foregoing Resolutions except that such
acts were taken before these Resolutions were certified, are hereby in all respects approved and
ratified.




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Ce~ir~~~a~~y~, LC,C', a li~i~it~~l l.iabitity cc>_itl~aany or~;a~7ize~f anc~ existing ur~cl~r tl~e lativs of the S~at~ f~f
C~elzware (the "Cnrn~ly"~, he~•eby ecrtif~~ ~ f'~ll~ws:

        1,        I a~n fainili~~r ~xritt~ f(~e facts l~ereir~ cer~i(~ied, r~~~E3 I ~m iiuly a~rt}~c~rized to certify the
same; oi~ bela~xlf of.'tl.-~e Cc~i~zpa~~y.

        2,        t~ftacl~ect 11e~'etc~ is a t~-t~e a~~c~ cor~~ec~ copy c~f~ tlae resokitic~ns taf the ufai~~~~ement
~3~drd t~f the C`c~3-~a~~ai.1y (tile "Bo«rd"), ti~i~hflut exhibits, dctly ado~3te~ a~ ~ ~n,aetin~ t~Ft~~~ Bc>Eir~1 air
Mat•clx     fp_, 20l 8.

         3.       Such resoIutic3ns ha~je cxot been aixieizcted, ~~lt.ered, ant~tillet~, ~~escizlcied, ~~r ~-e~•okeci,
and are iii. full force a~ici effect sis cif tll date hcl-cof. Tllei~c; exists n<~ otl~et• ~~ibsequent resc~l~itiat~
cif the C3oarci re1~~t.iug to the ~~Zatters set fartll iu t11e ~~esc3ltiztic7ns attached hereto:

          l~' ~~i':[T~'~IC~~S 1~,'~~~.1~.Et3F, t11e ut~~crsi~~ed has executed. this CerCiticate a~ cif tl~~, date
t~cst r~vriiten a:bo~Je.

                                                                               .~.....~.w_..~..._w   ,....._._w._.._._.

                                                                 Name: Ste~7he~i~1'. ,1ack~an,. z',
                                                                 'I'it(e: Chief'financial Uftic~~„
                     Debtor name: Remington Outdoor Company, Inc., etal.                                                                                                                                 ❑ Check if this is an amended filing
                     United States Bankruptcy Court for the: District of Delaware
                     Case number (if known): .
                 Official Form 204
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                                                                                              12/15
                 A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. include claims which the debtor disputes. Do not include claims by any person or
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                 entity who is an insider, as defined in ll U.S.C.§ 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the
                 creditor among the holders of the 30 largest unsecured claims.
                                                                                                                                                     .~
                 N~~r1e ofctct3~+.v :;nd comp'. _ ~ .a",ir,' ~1at~it, te:fi~~l~onc ntombet, anc~       t~iatttec of tta~ c3atil'~(~:r   1rEd~~~ ~_ ;t" Ck~irt   :r,c~LrYtY of un5c~curel C~airet
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Filed 03/25/18




                                                              'j                                       contracts)
                                                                                                                                                                Total claim, if pareiaEly      Deduction for value Unsecured Claim
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                                                                   PENSION BENEFIT GUARANTY
                       PENSION BENEFIT,GUARANTY                    CORPORATION, OFFICE OF THE
                       CORPORATION -OFFICE OF THE                  GENERAL COUNSEL
                 1     GENERAL COUNSEL                             PHONE: 202-326-4020 x4638           Pension Liability                                                                                                       Undetermined
                                                                                                                                          Contingent,
                       1200 K STREET, N.W.                         FAX: 202-326-4112                                        ~'            Unliquidated
Doc 1




                       WASHINGTON, DC 20005-4026                   EMAIL:
                                                                   Neureiter.Kimberly@pbec.gov                               ~.
                        HE MARLIN FIREARMS                         THE MARLIN FIREARMS
                       COMPANY EMPLOYEES'                          COMPANY EMPLOYEES'
Case 18-10686




                       PENSION PLAN                                PENSION PLAN
                 2     C/O MASSMUTUAL                              C/O MASSMUTUAL                      Pension Liability                  Contingent,                                                                          Undetermined
                        TTN: NANCY HOULE
                                                                   PHONE: 800-309-353,                                                    Unliquidated
                       P.O. BOX 219035 MIP M227
                                                                   x2-2139
                       KANSAS CITY, MO 64121-9035
                                                                   FAX: XXX-XX-XXXX
                                                                   EMAIL:
                       ECO-BAT INDIANA LLC                         ECO-BAT INDIANA LLC
                       ATTN: MIKE PARKER, SALES                    ATTN: MIKE PARKER,
                 3     MANAGER PO BOX 846010                       SALES MANAGER                       Trade                                                                                                                  $3,106,870.14
                       DALLAS, TX 75284-6010                       PHONE: 214-582-0295
                                                                   FAX: 214-831-4013
                                                                   EMAIL:
                                                                   ecobat.uk@ecobatgroup.com
                 1 This list does not include the agents for the Debtors' prepetition credit facilities or the indenture trustee for the Debtors' third lien notes as those entities' respective claims are secured by liens on
                 and/or security interests in the Debtors' assets.
                  Debtor: Remington Outdoor Company, inc., et al.                                                                                                                     Case number (if known)
                  N~~ne o€ crcr~3~ar ~nc3 ec~nip , `   i.nG ~ta( me,1e(ephone nE~r~ber, anc       Nat~ff v ofthc ~hiCn~ ~ ,   €ndEC~t~ ~lairn     Arn .,.~-*, of unsecurN~; claim
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Page 13 of 21




                    ST MARKS POWDER             ST MARKS POWDER
                    PO Box 643003               PHONE: 618-258-2000
                 4 PITTSBURGH, PA 15264-3003 FAX:                                                 Trade                                                                                                    $1,376,973.80
                                                EMAIL:
                                                stephen.faintich@gd-ots.com
                    THE DOE RUN COMPANY         THE DOE RUN COMPANY
                    ATTN: DEB MEDLEY            AnN: DEB MEDLEY
                 5 75 REMITTANCE DRIVE, SUITE PHONE:314-453-7115                                  Trade                                                                                                    $1,331,527.86
Filed 03/25/18




                    2172 CHICAGO, IL 60675-2172 FAX: 314-453-7189
                                                EMAIL: ceo@doerun.com
                    LUVATA KENOSHA INC          LUVATA KENOSHA INC
                    ATTN: ANDREW STEVENS, MGR ATTN: ANDREW STEVENS, MGR
                 6  MKT DEV                      MKT DEV                                          Trade                                                                                                      $928,021.49
                    PO Box 200498               PHONE: 920-540-5970
                    PITTSBURGH, PA 15251-0498   FAX: 920-749-3850
                                                EMAIL: andy.stevens@luvata.com
                                                GEODIS LOGISTICS LLC
Doc 1




                        GEODIS LOGISTICS LLC
                        ATTN: VIVIAN HARRIS, A/RATTN: VIVIAN HARRIS, A/R                                              _
                 7      MANAGER                  MANAGER                                          Trade                                                                                                      $895,514.30
                        15604 COLLECTION CENTER PHONE: 615-880-4865
                        DRIVE                   FAX: 615-377-3977
Case 18-10686




                        CHICAGO, IL 60693       EMAIL: vharris@ohl.com
                                                   ART GUILD INC
                         RT GUILD INC
                                                   ATTN: BERNAD~TTE SANDONE,
                         TTN: BERNADETTE SAN DONE,
                                                   AR MANAGER
                 8       R MANAGER                                               Marketing Services                                                                                                          $894,069.05
                                                   PHONE: 856-853-7500
                        300 WOLF DRIVE WEST
                                                   FAX: 856-686-4184
                        DEPTFORD, NJ 08086
                                                   EMAIL:
                                                   bsandone@artguildinc.com
                        MICROBEST INC              MICROBEST INC
                        670 CAPTAIN NEVILLE DR     PHONE: 203-597-0355
                 9      WATERBURY, CT 06705        FAX: 203-597-0655             Trade                                                                                                                       $773,300.75
                                                   EMAIL: maltbe~g@microbest.com
                 Official Form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                             Page 2
                 Debtor: Remington Outdoor Company, Inc., et al.                                                                                                                                                                                   Case number (if known)
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                 3'~d YTI@ L~f GYF'C31$OY ~S"1S~ LC1Yf1(.7~   _   ~'',.i~,~. ~Zj1YT1C, ~c~jt'~1~~1DI"1(' i3f1fF1 ~]ef. 313 C.~   IV~dLUF@ Der '~~iE C~c3E+'(3 ~" 1       IIl~1C~~C` )i' ~'~31tY3             .t1i 6f 11 F34(?l~A)F@C'~ ~~~IIY7
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Page 14 of 21




                    PMX INDUSTRIES INC CHICAGO PMX INDUSTRIES INC CHICAGO
                     TTN: JOE TALLERICO        ATTN:10E TALLERICO
                 10 5300 WILLOW CREEK DR SW    PHONE: 319-295-1339                                                               Trade                                                                                                                                               $720,189.42
                    CEDAR RAPIDS, IA 52404     FAX: 319-368-7721
                                               EMAIL: joe.tallerico@ipmx.com
                    STEPHEN GOULD              STEPHEN GOULD CORPORATION
                    CORPORATION                ATTN: GRANTEE REDMOND
                 11  TTN: GRANTEE REDMOND      PHONE: 973-428-1500                                                               Trade                                                                                                                                               $645,476.66
Filed 03/25/18




                    1408-C ROSENEATH ROAD      FAX: 804-217-9046
                    RICHMOND, VA 23230         EMAIL:
                                               blvollmer@stephengould.com
                                                                           PRIORITY PACKAGING WET'N
                    PRIORITY PACKAGING WET'N                               DRY LUBES INC.
                 12 DRY LUBES INC.                                                                     Trade                                                                                                                                                                         $563,002.51
                                                                           PHONE: 843-936-1660
                    3260 INDUSTRY DRIVE, UNIT 5
                                                                           FAX: 843-469-1661
                    N. CHARLESTON, SC 29418
                                                                           EMAIL:
Doc 1




                                                                           wwhjr@prioritypackaging.com
                    MAGPUL INDUSTRIES CORP                                 MAGPUL INDUSTRIES CORP
                    ATTN: DOUG SMITH                                       ATTN: DOUG SMITH -OPERATION
                 13 OPERATION MGR                                          MGR PHONE: 303-828-3460     Trade                                                                                                                                                                         $540,813.25
Case 18-10686




                    PO BOX 664017                                          FAX: 303-828-3469
                    DALLAS, TX 75266-4017                                  EMAIL: doug@magpul.com
                    GENERAL DYNAMICS                                       GENERAL DYNAMICS
                    ATTN: SUZIE TAILLEFER                                  ATTN: SUZIE TAILLEFER
                 14 55, RUE MASSON                                         PHONE: 450-377-7835                                   Trade                                                                                                                                               $469,669.88
                    VALLEYFIELD, OC J6S 4VP                                FAX: 450-377-7800
                    Canada                                                 EMAIL:
                                                                           suzie.taillefer@can.gd-ots.com
                    A M CASTLE & CO /CASTLE                                A M CASTLE & CO /CASTLE
                    METALS                                                 METALS
                 15 11125 METROMONT PARKWAY                                PHONE: 847-349-3851                                   Trade                                                                                                                                               $454,578.78
                    CHARLOTTE, NC 28269                                    FAX: 716-748-7788
                                                                           EMAIL: jkanute@amcastle.com
                 Official Form 204                                                   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                                                      Page 3
                 Debtor: Remington Outdoor Company, Inc., et al.                                                                                                                                              Case number (if known)
                                                                                               __-____r...                                                                                                            ~.---.—
                 Narr,~ of c~'edifiar end c~n~plett' ~nai3 ~   Pv.~me Yefe ~s~f~me~ numbe,,:~nr+        ~~};}tairc o~ i17~ c , ~,?    1r J ~ ~, ~€aim                4~.~ C of utts~curetf'claim
                 address, ~r~r,Ic3tii~p,'x~~ eoc~A~            en~3i~l ac€dress ~,f creditor e~rstart    ~xatnp(c, ki`ade ~,~-4_,; , ~ ~ ,.af# ;+ant.          ' ~3    K~r stir, is fW€Iy~r,34~cured, fiU in oi'~ly uns~~urec! cf~ir.~ atnounf. !~
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Page 15 of 21




                    OZARK DIE CASTING                          OZARK DIE CASTING
                    ATTN: GARY LAND 1005                       ATTN: GARY LAND
                 16 LOFTING IND DR                             PHONE: 636-629-4244                      Trade                                                                                                                    $441,319.08
                    SAINT CLAIR, MO 63077                      FAX: 636-629-2153
                                                               EMAIL: ozarkdie@sbcglobal.net
                                                               NATIONWIDE PRECISION
                    NATIONWIDE PRECISION                       PRODUCTS CORP
                    PRODUCTS CORP
                                                               Attn: Dan Nash -CEO
Filed 03/25/18




                 17 Attn: Dan Nash -CEO                                                                 Trade                 ~                                                                                                  $437,939.33
                                                               PHONE: 224-419-6055
                    PO BOX 842324
                                                               FAX: 585-272-8982
                    BOSTON, MA 02284-2384
                                                               EMAIL:
                                                               dan.nash@hnprecision.com
                                                               BRUDERER MACHINERY INC
                      BRUDERER MACHINERY INC
                                                               ATfN: DONNA I<OTERBA
                      ATTN: DONNA KOTERBA
                 18   1200 HENDRICKS CAUSEWAY                  PHONE: 201-941-2121                      Trade                                                                                                                    $432,592.50
                                                               FAX: 201-886-2010
Doc 1




                      RIDGEFIELD, NJ 07657
                                                               EMAIL:
                                                               dkoterba@brudereramericas.com
                      GERDAU MAC STEEL                         GERDAU MAC STEEL
                      ATTN: R A. MONTGOMERY                    ATTN: R A. MONTGOMERY LORI
Case 18-10686




                 19   LORI STROKO                              STROKO                                   Trade                                                                                                                    $421,153.38
                      25654 NETWORK PLACE                      PHONE: 330-382-1084
                      CHICAGO,IL60673                          FAX:517-782-8736
                                                               EMAIL:
                    PRECISIONMATICS CO INC                     PRECISIONMATICS CO INC
                    ATTN: CINDY                                ATTN: CINDY
                 20 675 US HIGHWAY 20 WEST                     PHONE: 315-822-6324                      Trade                                                                                                                    $388,620.62
                      WINFIELD, NY 13491                       FAX: 315-822-6944
                                                               EMAIL:
                                                               cindyk@precisionmatics.com
                    SWANSON MARTIN &BELL                       SWANSON MARTIN &BELL                                       .
                    ATTN: BRIAN W. BELL                        ATTN: BRIAN W. BELL
                 Z1 330 NORTH WABASH AVE                       PHONE: 312-321-9100                      Legal Counsel                                                                                                            $387,023.30
                    STE 3300                                   FAX: 312-321-0990
                    CHICAGO, IL 60611                          EMAIL: bbell@smbtrials.com
                 Official Form 204                                   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                           Page 4
                     Debtor: Remington Outdoor Company, Inc., etal.                                                                                                                                          Case number (if known)
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                     address;inc€udin~:zip cote                    err~aii adE3ress of :,red'it;~~- caiZtUG~~   exam;€,~, trade ~:~i.;~.    €scG~€~~ ~.;c~t,        ' It -"^ ~'~im is fully EEr~4c~~urc.:, ri!I in n~il~~~~ unsceu~ Lc€ :~t.~ir~ ar'noi3;Yt. ff
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                 ~                                                  ~                                           professiona' srr~ _ .,      dispute ~                    3 .:~. i col€a~era€ or sei~~~f to c~lc,alare c~n~~>~~.~red claim.
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Page 16 of 21




                          DECIMET SALES INC            DECIMET SALES INC
                          ATTN: BUTCH ANDERSON         ATTN: BUTCH ANDERSON
                 22       142001AMES ROAD              PHONE: 763-428-4321           Trade                                                                                                                                               $371,396.20
                          ROGERS , MN 55374            FAX: 763-428-8285
                                                       EMAIL: info@dsimn.com
                          DANA SOTO, ET AL.            DANA SOTO, ET AL.
                          C/O KOSKOFF KOSKOFF &        C/O KOSKOFF KOSKOFF & BIEDER,
                 23       BIEDER, P.C.                 P.C.                          Litigation                                               Contingent,
                                                                                                                                                                                                                                       Undetermined
                                                                                                                                              Unliquidated,
Filed 03/25/18




                          ATTN: JOSHUA D. KOSKOFF      PHONE: 203-583-8634
                          350 FAIRFIELD AVENUE         FAX: 203-368-3244                                                                      Disputed
                          BRIDGEPORT, CT 06604         EMAIL:
                          IAN POLLARD, ET AL.          IAN POLLARD, ET AL.
                          C/O BOLEN, ROBINSON & EILiS, C/O BOLEN, ROBINSON & ELLIS,
                          LLP                          LLP                           Litigation                                               Contingent,
                 24       ATTN:ION D. ROBINSON                                                                                                Unliquidated,
                                                       PHONE: 217-429-4296                                                                                                                                                             Undetermined
                          202 SOUTH FRANKLIN                                                                                                  Disputed
                                                       FAX: 217-329-0034
                          2ND FLOOR                    EMAIL:
Doc 1




                          DECATUR, IL 62523            JROBINSON@BRELAW.COM
                          ROBERT ZICK                  ROBERT ZICK
                          C/O MONSEES & MAYER, P.C. C/O MONSEES & MAYER, P.C.
                          ATTN: TIMOTHY MONSEES                                      Litigation                                               Contingent,
                                                       PHONE: 816-470-0013
Case 18-10686




                 z5       4717 GRAND AVENUE                                                                                                   Unliquidated,
                                                       FAX: 816-361-5577                                                                                                                                                               Undetermined
                          SUITE 820                                                                                                           Disputed
                                                       EMAIL:
                          KANSAS CITY, MO 641.2
                          JON BATfS                   10N BATTS
                          C/O RAD LAW FIRM, P.C.       C/O RAD LAW FARM, P.C.
                          Al-fN: ROBERT M. MEADOR      PHONE: 972-661-1111           Litigation                                               Contingent,
                                                                                                                                                                                                                                       Undetermined
                 26       8001 JBJ FREEWAY, SUITE 300 FAX: 972-354-5651                                                                       Unliquidated,
                          DALLAS, TX 75251                                                                                                    Disputed
                                                       EMAIL:
                                                                     EFILERM@RADLAWFIRM.COM
                 Official Form 204                                          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                 Page 5
                 Debtor: Remington Outdoor Company, Inc., et al.                                                                                                                                    Case number (if known)
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                 N~,nie cif cretiitnr anti c~amplr#~ m~ilin~ t~:3me,t~icphone ri~~aF~l~er, anc      'h:~tsire ref t ~e rfain~{ ~     ~ i ate ifi ~lairn          ~ ~ ~ of unsecuresi claim
                 addrnes~ inell~donG. yip e~de               email ~ddres~ of cret~iir~r confac.~    exar~,~afc„ to ~dc ~ie~t~,           ~^'sn~~r~t,          i     ~an3 3j fully iinsec~~r~ri. ~iE,I in csF~i•p uns~ca.~red cE~3tFr ~~~~sta<;nt. if
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                                                                                                                               __   3 ;;: ~~/ ;,              seeured                 ~fcollateral or setcff~
Page 17 of 21




                    SAMUELJOHNSON                 SAMUELJOHNSON
                    THE LAW OFFICE OF DANIEL D. THE LAW OFFICE OF DANIEL D.
                    GOROWITZ, III, P.C.                                                              Litigation
                                                  GOROWITZ, III, P.C.
                                                                                                                                      Contingent,                                                                             Undetermined
                 Z~ ATT~N: DANIEL D. HOROWITZ     PHONE: 832-460-5181
                    2100 TRAVIS STREET, SUITE 280 FAX: 832-266-1478                                                                   Unliquidated,
                                                                                                                                      Disputed .
                    HOUSTON, TX 77002             EMAIL:
                                                  DANIEL@DDHLAWERS.COM
                      ANTHONY GARNETT             ANTHONY GARNETT
Filed 03/25/18




                      C/O O'CONOR, MASON &        C/O O'CONOR, MASON &BONE,
                 Z$   BONE, P.C.                  P.C.
                                                                                                                                      Contingent,
                      ATTN: 1ESS W. MASON, ROBEF            PHONE: 713-647-7511
                                                                                                     Litigation                       Unliquidated,                                                                           Undetermined
                      D. O'CONOR & J. KEVIN RALEY           FAX: 713-647-7512
                                                                                                                                      Disputed
                      1616 S. VOSS ST., SUITE 200           EMAIL:
                      HOUSTON, TX 77057                     1MASON@OMBTXLAW.COM;
                                                            BOCONOR@OMBTXLAW.COM;
                                                            KRALEY@OMBTXLAW.COM
Doc 1




                      MICHELLE LEFEBRE                      MICHELLE IEFEBRE                                                          Contingent,
                      LEONARD A. SIUDARA PC                 LEONARD A. SIUDARA PC                                                     Unliquidated,
                      ATTN: LEONARD A. SIUDARA              PHONE: 248-417-7300                         igation                       Disputed                                                                                Undetermined
                      5865 ANDOVER CT                       FAX: 248-641-8141
                      TROY, MI 48098
Case 18-10686




                                                            EMAIL: BUDATLAW@MSN.COM
                      PRECIOUS SEGUIN                       PRECIOUS SEGUIN
                      C/O MONSEES & MAYER, P.0              C/O MONSEES & MAYER, P.0                                                                                                                                          Undetermined
                      ATTN: TIMOTHY MONSEES                                                             igation                       Contingent,
                                                            PHONE: 816-470-0013
                                                                                                                                      Unliquidated,
                      4717 GRAND AVENUE                     FAX: 816-361-5577
                                                                                                                                      Disputed
                      SUITE 820                             EMAIL:
                      KANSAS CITY, MO 64112
                 Official Form 204                                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                 Page 6
                      Case 18-10686   Doc 1     Filed 03/25/18     Page 18 of 21




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                      X

In r~:                                                    Chapter 11

FGI OPERATING COMPANY,LLC,                                Case No. 18-

                               Debtor

                                              ~~~


                           CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the following is a list of any corporation, other than a governmental unit, that directly or

indirectly owns 10% or more of any class of equity interests in the above-captioned debtor.


         ~)e~~tt~~-              ~ re~t c►uF~~et~s}                      Inc~ire~t c►~~~~et{s}

FGI Operating              rGI Holding Company,LLC            Remington Outdoor Company,Inc.
Company,LLC                870 Remington Drive                870 Remington Drive
                           P.O. Box 700                       P.O. Box 700
                           Madison, NC 27025                  Madison, NC 27025

                                                              R2 Holdings, LLC
                                                              875 Third Avenue, 14th Floor
                                                              New York, NY 10022
                   Case 18-10686          Doc 1      Filed 03/25/18     Page 19 of 21




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

---------------------------------------------------------- X

In re:                                                         Chapter 11

FGI OPERATING COMPANY,LLC,                                     Case No. 18-       (_)

                                  Debtor.

---------------------------------------------------------- X

                            LIST OF EQUITY SECURITY HOLDERS

         Pursuant to rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following
is a list of entities holding an interest in the above-captioned debtor.

                                                                          ..._,
   i+1~~~ae ~~~~~ Lest I~~~~~i~n ~~fcl~•css r~~• I'1ac~ ~~~ ~3at~€-e c7f          ~~~~a~~~~t r~f'T~~te~{~st
                   I3usi es~ t~f ~~i€~~r                  i ~i~t~r~~t ~elc~                ~-€cic~ .._.

  FGI Holding Company,LLC                                         Membership                  o
  870 Remington Drive, P.O. Box 700                                                        100/o
                                                                    Interest
  Madison, NC 27025
                    Case 18-10686           Doc 1      Filed 03/25/18        Page 20 of 21




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DIST1tICT OF DELAWARE

---------------------------------------------------------- X

In re:                                                           Chapter 11

FGI OPERATING COMPANY,LLC,                                       Case No. 18-               (_~

                                    Debtor.

---------------------------------------------------------- X

                            CERTIFICATION OF CREDITOR MATRIX

               Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure
for the United States Bankruptcy Court for the District of Delaware, the above captioned debtor
and its affiliated debtors in possession (collectively, the "Debtors")1 hereby certify that the
CNeditor Matrix submitted herewith contains the names and addresses of the Debtors' creditors.
To the best of the Debtors' knowledge, the C'Neditor Matrix is complete, correct, and consistent
with the Debtors' books and records.

               The information contained herein is based upon a review of the Debtors' books
and records as of the petition date. However, no comprehensive legal and/or factual
investigations with regard to possible defenses to any claims set forth in the CNeditor MatNix
have been completed. Therefore, the listing does not, and should not, be deemed to constitute:
(1) a waiver of any defense to any listed claims;(2) an acknowledgement of the allowability of
any listed claims; and/or(3)a waiver of any other right or legal position of the Debtors.




' The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, as applicable, are: Remington Outdoor Company, Inc.(4491); FGI Holding Company, LLC(9899); FGI
Operating Company,LLC(9774); Remington Arms Company, LLC(0935); Barnes Bullets, LLC(8510); TMRI,
Inc.(3522); RA Brands, L.L.C.(1477); FGI Finance, Inc.(0109); Remington Arms Distribution Company, LLC
(4655); Huntsville Holdings LLC(3525); 32E Productions, LLC(2381); Great Outdoors Holdco, LLC(7744); and
Outdoor Services, LLC(2405). The principal offices of Debtor Remington Outdoor Company Inc., the top-level
holding company, are located at 870 Remington Drive, Madison, NC 27025.
                             Case 18-10686                Doc 1           Filed 03/25/18                     Page 21 of 21




 aeaco~N~n,~ _~Gi O~eratin Csmpany LLC
 Unitecl5tetes Bankruptcy Court'or the;                     ,~ Distric! of    Delaware
                                                                             (Stara}~~
 Case number(y xncwn~:




Official Form 202

An Individual who is authorised to act on behalf of a nan-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declavation that is not included in tha document,
and any amendments of those documents. This form must state tho individual's position or relationship to the debtor, the identity of the
document,and the date. Bankrupfcy Rules 1008 ar~d 9091.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing proporty, or obtaining money or property by firaud in
connection with a bankruptcy case can rosutt In fines up to $500,OU0 or imprisonment for up to 20 years, or laoth. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



           Declaration and signature



         am the president, another officer, or an authorized agent of tho corGoration; a member or an authorized agent of the partnership: or
        another individual serving as a representative of the debtor in this case.

          have examinod [he information in tho documents chocked bolow and I have a reasonable belief that the information is true and correct:


        ~ Schedule A/B: Assets—Rea!and Personal Property(O~cial Form 206A/B)

        ~ 'Schedule D: Creditors Who Mave Claims Secured by Property(O~cial Form 206D)

        ❑ Schedule E/(= Cred+tars Who Have Unsecured Claims (Official Form 206E1F)

        ❑ Schedule G:Executory Contracts and Unexpired i_eases (Official Form 206G)

              Schedule N: Ccdebto~s (Official Form 206H)

        o Summary ofAssets and Liabilities for Non-Individuals (Official Farm 206Sum)

        ~ Amended Schedule._

                                                                                                                                                      Form
              6hapter 17 or Chapter 9 Criss: Consolidated Lrs! of Creditors Who Have the 30 Largest Unsecured Gaims and Are ldot Insiders (Official
               204)
        l~ other document Gnat requ[res a deciarafion List of Equity Securit~Holders ,_C~orate Ownersh~ Statement.
                                                      Certification of Creditor Matrix


         declare under penalty of perjury that the foregoing is true and correct.
                                                                          ~~~.          ~--~_^
                                                                       ~:.
        Executed on ~~ ~~_~.~~~
                    MM l DD)YYYY                             S~gnalure of ii`~pividual signinggn pehaYf of ci bfor
                                                                                                                ~~

                                                              Stephen P. Jackson, Jr.
                                                             Printed name       ~~~

                                                              Chief Financial Qfficer
                                                             Position or relationship to debtor



Ufficia( Form 202                         Declaration Under Panalty of Perjury far Non-~ndividuat Debtors
